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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                           MAGISTRATE JUDGE NINA Y. WANG


 Civil Action:         11-cv-02285-NYW               Date: September 28, 2018
 Courtroom Deputy:     Brandy Wilkins                FTR: NYW COURTROOM A-502*

                  Parties                                                  Attorney(s)
                                                                         Caleb Durling
   CENTER FOR LEGAL ADVOCACY,                                            Ellie Lockwood
                                                                            Iris Eytan
                                                                      Jennifer L. Purrington
                                                                        Timothy P. Scalo
                            Plaintiff,

   v.

   REGGIE BICHA,                                                      Elizabeth J. McCarthy
   TERESA A. BERNAL,                                                     Lauren K. Peach
                                                                        Tanya E. Wheeler
                            Defendants.


                        COURTROOM MINUTES/MINUTE ORDER

 ORAL ARGUMENT

 Court in Session: 10:01 a.m.

 Appearance of counsel. Mr. Mark Ivandick appears with counsel on behalf of Plaintiff. Dr.
 Robert Werthwein appears with counsel on behalf of Defendants.

 Parties submit an unopposed oral motion to restrict Exhibit No.’s 18 [97-18] and 19 [97-19].
 Parties agree to refer to individuals by initials only.

 Discussion and argument held on Plaintiff’s Motion for Summary Judgment to Enforce
 Settlement Agreement [96], and Defendants’ Motion for Summary Judgment [97] filed August
 15, 2018.

 ORDERED: Plaintiff’s Motion for Summary Judgment to Enforce Settlement Agreement
          [96] is TAKEN UNDER ADVISEMENT.
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 ORDERED: Defendants’ Motion for Summary Judgment [97] is TAKEN UNDER
          ADVISEMENT.

 Parties discuss if the stipulated exhibits will be admitted. The court requests that parties file all
 the exhibits to this proceeding on the docket.

 ORDERED: The oral motion is GRANTED. Exhibit No.’s 18 [97-18] and 19 [97-19] are
          RESTRICTED from the public docket.

 Court in Recess: 11:17 a.m.              Hearing concluded.                Total time in Court:     01:16

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